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                                           8                    UNITED STATES BANKRUPTCY COURT
                                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                           9
                                          10    In re                                     Case No. 22-02384-11
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                          11    BORREGO COMMUNITY
                                                HEALTH FOUNDATION,                        Chapter 11 Case
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                                                        Debtor and Debtor In
                                          13            Possession.                       DEBTOR’S EMERGENCY FIRST DAY
                                                                                          MOTION FOR ENTRY OF ORDER: (I)
                                          14                                              AUTHORIZING THE DEBTOR TO (A)
                                                                                          PAY PREPETITION EMPLOYEE
                                          15                                              WAGES AND SALARIES, AND (B) PAY
                                                                                          AND HONOR EMPLOYEE BENEFITS
                                          16                                              AND OTHER WORKFORCE
                                                                                          OBLIGATIONS; (II) AUTHORIZING
                                          17                                              THE DEBTOR TO PAY PREPETITION
                                                                                          AGENCY PAYMENT OBLIGATIONS;
                                          18                                              AND (III) AUTHORIZING AND
                                                                                          DIRECTING THE APPLICABLE BANK
                                          19                                              TO PAY ALL CHECKS AND
                                                                                          ELECTRONIC PAYMENT REQUESTS
                                          20                                              MADE BY THE DEBTOR RELATING
                                                                                          TO THE FOREGOING
                                          21                                              MEMORANDUM OF POINTS AND
                                                                                          AUTHORITIES       IN    SUPPORT
                                          22                                              THEREOF
                                          23                                              Declaration of Isaac Lee and in Support of
                                                                                          Debtor’s First Day Motions filed
                                          24                                              concurrently herewith
                                          25                                              Judge: Honorable Laura S. Taylor
                                          26
                                                                                          Date: TBD
                                          27                                              Time: TBD
                                                                                          Place: TBD
                                          28



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                                           1                                      EMERGENCY MOTION
                                           2             Pursuant to Local Bankruptcy Rule 9013-9 and §§ 105(a), 363(b), 507(a),
                                           3   1107(a) and 1108 of title 11 of the United States Code (the “Bankruptcy Code”),1
                                           4   Borrego Community Health Foundation (the “Debtor”), the debtor and debtor in
                                           5   possession in the above-captioned chapter 11 bankruptcy case (the “Case”), hereby
                                           6   moves, on an emergency basis (the “Motion”), for the entry of an order (substantially
                                           7   in the form attached hereto as Exhibit “A”, the “Proposed Order”): (i) authorizing
                                           8   the Debtor, in its discretion, to (a) pay any outstanding prepetition employee wages
                                           9   and salaries, and (b) pay and honor employee benefits and other workforce
                                          10   obligations (including remitting withholding obligations, maintaining workers’
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                                          11   compensation and benefits programs, paying related administration obligations,
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                                          12   making contributions to retirement plans, and paying reimbursable employee
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                                          13   expenses) (collectively, the “Employee Obligations”), with payments to each
                                          14   employee not to exceed the statutory limit for priority claims of $15,150; (ii)
                                          15   authorizing the Debtor, in its discretion, to pay its Temporary Staff (defined herein)
                                          16   for work performed prepetition via payment of Agency Payment Obligations
                                          17   (defined herein), with payments for each Temporary Staff member’s prepetition
                                          18   services not to exceed the statutory limit for priority claims of $15,150; and (iii)
                                          19   authorizing and directing the applicable bank to pay all checks and electronic
                                          20   payment requests made by the Debtor relating to the foregoing.
                                          21             In support of the Motion, the Debtor has separately filed the Declaration of
                                          22   Isaac Lee, the Debtor’s Chief Restructuring Officer of Borrego Community Health
                                          23   Foundation, in Support of Debtor’s First Day Motions (the “Lee Declaration”).
                                          24                                BACKGROUND INFORMATION
                                          25             On September 12, 2022, the Debtor filed a voluntary petition for relief under
                                          26   chapter 11 of the Bankruptcy Code.
                                          27

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                                                   All references to “§” or “sections” herein are to sections of the Bankruptcy Code.


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                                           1           The Debtor is a nonprofit federally qualified health center that provides health
                                           2   care services to low income and rural patients (collectively, “Patients”) in San Diego
                                           3   and Riverside Counties through a system of eleven clinics, two pharmacies, and six
                                           4   mobile units. In 2021, the Debtor provided approximately 386,000 patient care visits
                                           5   to over 94,000 patients. Borrego services include comprehensive primary care,
                                           6   urgent care, behavioral health, dental services, specialty care, transgender health,
                                           7   women’s health, prenatal care, veteran’s health, chiropractic services, tele-health,
                                           8   and pharmacy.
                                           9           As set forth in the annexed Memorandum of Points and Authorities, the Debtor
                                          10   filed this Case to protect its patient population and explore all available restructuring
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                                          11   options, particularly since its patient population faces risks as a result of recent steps
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                                          12   taken by the California Department of Health Care Services.
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                                          13                              SUMMARY OF REQUESTED RELIEF
                                          14           By this Motion, the Debtor seeks entry of an order: (i) authorizing the Debtor,
                                          15   in its discretion, to (a) pay any outstanding prepetition Employee Obligations, with
                                          16   payments to each employee not to exceed the statutory limit for priority claims of
                                          17   $15,150; (ii) authorizing the Debtor, in its discretion, to pay Agency Payment
                                          18   Obligations, with payments for each Temporary Staff member’s prepetition services
                                          19   not to exceed the statutory limit for priority claims of $15,150; and (iii) authorizing
                                          20   and directing the applicable bank to pay all checks and electronic payment requests
                                          21   made by the Debtor relating to the foregoing. The Debtor requests that the relief
                                          22   sought herein be granted on an emergency basis because it will suffer irreparable
                                          23   harm without the relief requested in this Motion.
                                          24           By way of background, the Debtor’s employees are vital to the operation of
                                          25   the Debtor’s medical clinics, and to the health, welfare, safety and security of the
                                          26   patients who seek medical care therein. Payment of, and otherwise honoring, the
                                          27   Employee Obligations and Agency Payment Obligations are necessary to prevent
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                                           1   employees from terminating their employment with the Debtor and to maintain the
                                           2   employees’ morale pending resolution of this Case.
                                           3            Based on the foregoing, and for the reasons set forth below, the Debtor
                                           4   respectfully requests that (i) the Motion be heard on an emergency basis,2 pursuant
                                           5   to Rule 9013-9, of the Local Bankruptcy Rules and Administrative Procedures (the
                                           6   “LBR”) of the United States Bankruptcy Court for the Southern District of California
                                           7   (the “Court”), and (ii) the Court grant the relief requested in the Motion.
                                           8                                 ADDITIONAL INFORMATION
                                           9            The Motion is based on the Notice of Emergency Motions that will be filed
                                          10   and served after a hearing date for the Debtor’s “First Day Motions” has been
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                                          11   obtained, the attached Memorandum of Points and Authorities, the Lee Declaration,
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                                          12   and the arguments of counsel and other admissible evidence properly brought before
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                                          13   the Court at or before the hearing regarding the Motion. In addition, the Debtor
                                          14   requests that the Court take judicial notice of all documents filed with the Court in
                                          15   this Case.
                                          16            The Debtor will serve this Motion, the attached Memorandum of Points and
                                          17   Authorities, the Lee Declaration and the Notice of Emergency Motions in accordance
                                          18   with LBR 9013-9(d) and Appendix D1 of the LBR on: (i) the Office of the United
                                          19   States Trustee; (ii) any alleged secured creditors; (iii) the twenty largest general
                                          20   unsecured creditors appearing on the list filed in accordance with Rule 1007(d) of the
                                          21   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); (iv) the United
                                          22   States of America, and the State of California; and (v) parties that file with the Court
                                          23   and serve upon the Debtor requests for notice of all matters in accordance with
                                          24   Bankruptcy Rule 2002(i). To the extent necessary, the Debtor requests that the Court
                                          25   waive compliance with Bankruptcy Rules 2002 and 6004(a), and approve service (in
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                                                   Pursuant to LBR 9013-9(b), a separate motion for an expedited hearing is not required.


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                                           1   addition to the means of services set forth in such LBR) by overnight delivery and
                                           2   telephonic notice.
                                           3           Pursuant to Appendix D1(8) of the LBR, any party who opposes this
                                           4   Emergency First Day Motion must immediately notify the Bankruptcy Judge’s law
                                           5   clerk of its position by telephone. No opposition may be filed to an Emergency First
                                           6   Day Motion unless authorized by the Court.
                                           7           In the event that the Court grants the relief requested by the Motion, the Debtor
                                           8   shall provide notice of the entry of the order granting such relief upon each of the
                                           9   foregoing parties and any other parties in interest as the Court directs. The Debtor
                                          10   submits that such notice is sufficient and that no other or further notice be given.
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                                          11                                        CONCLUSION
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                                          12           WHEREFORE, for all the foregoing reasons and such additional reasons as
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                                          13   may be advanced at or prior to the hearing regarding this Motion, the Debtor
                                          14   respectfully requests that the Court enter an order providing for the following relief:
                                          15   (i) authorizing the Debtor, in its discretion, to pay prepetition Employee Obligations,
                                          16   with payments to each employee not to exceed the statutory limit for priority claims
                                          17   of $15,150; (ii) authorizing the Debtor, in its discretion, to pay prepetition Agency
                                          18   Payment Obligations, with payments for each Temporary Employee’s prepetition
                                          19   services not to exceed the statutory limit for priority claims of $15,150; (iii)
                                          20   authorizing and directing the applicable bank to pay all checks and electronic
                                          21   payment requests made by the Debtor relating to the foregoing; and (iv) granting such
                                          22   other and further relief as is just and proper under the circumstances.
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                                           1    Dated: September 12, 2022                     DENTONS US LLP
                                                                                              SAMUEL R. MAIZEL
                                           2                                                  TANIA M. MOYRON
                                           3
                                                                                              By    /s/Tania M. Moyron
                                           4                                                            Tania M. Moyron
                                           5
                                                                                              Proposed Attorneys for the Chapter 11
                                           6                                                  Debtor and Debtor In Possession
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                                           1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                           2                                                     I.
                                           3                                           INTRODUCTION
                                           4             Pursuant to Appendix D1(1) of the Local Bankruptcy Rules of the United
                                           5   States Bankruptcy Court for the Southern District of California (the “LBR”), Rule
                                           6   6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
                                           7   §§ 105(a), 363(b), 507(a)(4) and (5), 1107(a) and 1108 of title 11 of the United States
                                           8   Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), 3 Borrego
                                           9   Community Health Foundation (“BCHF” or the “Debtor”), the debtor and debtor in
                                          10   possession in the above-captioned Chapter 11 bankruptcy case (the “Case”), hereby
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                                          11   moves, on an emergency basis (the “Motion”), for the entry of an order (substantially
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                                          12   in the form attached hereto as Exhibit “A”, the “Proposed Order”): (i) authorizing,
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                                          13   but not directing, the Debtor, in its discretion, to (a) pay or honor any outstanding
                                          14   prepetition wages, salaries, employee benefits, and other compensation, (b) remit
                                          15   withholding obligations, (c) maintain workers’ compensation and benefits programs,
                                          16   (d) pay related administration obligations, and (e) pay reimbursable employee
                                          17   expenses (collectively, the “Employee Obligations”), with payments to each
                                          18   employee not to exceed the statutory limit for priority claims of $15,150; (ii)
                                          19   authorizing, but not directing, the Debtor, in its discretion, to pay its Temporary Staff
                                          20   (defined herein) for work performed prepetition via payment of Agency Payment
                                          21   Obligations (defined herein), with payments for each Temporary Staff member’s
                                          22   prepetition services not to exceed the statutory limit for priority claims of $15,150;
                                          23   and (iii) authorizing and directing the applicable bank to pay all checks and electronic
                                          24   payment requests made by the Debtor relating to the foregoing.
                                          25             The Debtor is filing this Case to protect its patient population and explore all
                                          26   available restructuring options, particularly since its patient population faces risks as
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                                                   All references to “§” and “section” herein are to sections of the Bankruptcy Code.


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                                           1   a result of recent steps taken by the California Department of Health Care Services.
                                           2   Accordingly, it is imperative to the accomplishment of the Debtor’s goal in this Case
                                           3   that the Debtor minimizes any adverse impact of the chapter 11 filing on the Debtor’s
                                           4   workforce, its Patients (defined herein), the operations of its medical clinics, and on
                                           5   the orderly administration of this Case. Any disruption to payment of the payroll in
                                           6   the ordinary course, or to the continued implementation of employee programs in the
                                           7   Debtor’s discretion, would adversely affect the Debtor’s goal in this Case. Absent
                                           8   such continued payments and provision of benefits, employees may terminate their
                                           9   employment with the Debtor. It would distract employees from providing critical
                                          10   Patient care and hurt employee morale at a particularly sensitive time in this Case.
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                                          11   Failure to honor payroll and employee benefits obligations could have severe
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                                          12   repercussions on the Debtor’s ability to preserve its assets and administer its estate,
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                                          13   to the detriment of all constituencies. Accordingly, the Debtor respectfully requests
                                          14   that the Court grant the Motion.
                                          15                                                II.
                                          16                                        JURISDICTION
                                          17           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
                                          18   1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The venue of the
                                          19   Case is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                          20                                               III.
                                          21                STATEMENT OF FACTS AND REQUESTED AUTHORITY
                                          22   A.      General Background
                                          23           1.      On September 12, 2022 (“Petition Date”), the Debtor filed a voluntary
                                          24   petition for relief under chapter 11 of the Bankruptcy Code.
                                          25           2.      The Debtor is a nonprofit federally qualified health center (“FQHC”)
                                          26   that provides health care services to low income and rural patients (collectively,
                                          27   “Patients”) in San Diego and Riverside Counties through a system of eleven clinics,
                                          28   two pharmacies, and six mobile units. In 2021, BCHF provided approximately

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                                           1   386,000 patient care visits to over 94,000 patients.             Borrego services include
                                           2   comprehensive primary care, urgent care, behavioral health, dental services, specialty
                                           3   care, transgender health, women’s health, prenatal care, veteran’s health, chiropractic
                                           4   services, tele-health, and pharmacy.
                                           5           3.      FQHCs are federally designated entities that receive higher state
                                           6   payments to provide health care services to poor and rural families and families with
                                           7   incomes below 200% of the poverty level. As an FQHC, BCHF strives to deliver
                                           8   high quality, comprehensive, compassionate primary health care to people in the
                                           9   surrounding area, regardless of ability to pay.
                                          10           4.      Additional background regarding the Debtor, including an overview of
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                                          11   the Debtor’s business, information on the Debtor’s capital structure, and additional
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                                          12   events leading up to this Case, is set forth in the Declaration of Isaac Lee, Chief
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                                          13   Restructuring Officer of Borrego Community Health Foundation, in Support of
                                          14   Debtor’s Emergency First Day Motions (the “Lee Declaration”).
                                          15           5.      Since the commencement of the Case, the Debtor has been operating its
                                          16   business as debtor in possession pursuant to §§ 1107 and 1108 of the Bankruptcy
                                          17   Code.
                                          18           6.      To date, no official committee or examiner has been appointed by the
                                          19   Office of the United States Trustee in this Case.
                                          20   B.      Relevant Background to Motion
                                          21                   1. The Debtor’s Employees and Temporary Staff
                                          22           7.      As set forth in the Lee Declaration, the Debtor employs approximately
                                          23   697 employees, of which 631 are full-time and 66 are part-time employees
                                          24   (collectively, the “Employees”).4
                                          25   4
                                                 Part-time employees consist of regular part-time employees, part-time employees, temporary
                                          26   employee, independent contractors and per diem employees. Regular part-time Employees are
                                               those normally scheduled to work fewer than thirty (30) hours per week and no less than twenty
                                          27   (20). Part-time Employees are those normally scheduled to work fewer than twenty (20) hours per
                                               week. Temporary Employees are those employed to work on special projects for short periods of
                                          28
                                               time, or on a “fill-in” basis. Per diem Employees are those who are scheduled to work on an on-

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                                           1            8.      Full-time, regular part-time and part-time (“core”) Employees are
                                           2   regularly scheduled to work every pay period. Temporary and per diem Employees
                                           3   are used on an as-needed basis. Per diem Employees are called in whenever medical
                                           4   clinics cannot otherwise meet their core staffing requirements – for example, when
                                           5   core Employees are sick or on vacation, or there is a spike in patient census. Also,
                                           6   because California requires the medical centers to maintain specific nurse-to-patient
                                           7   ratios,5 the Debtor uses per diem Employees to ensure the medical centers are in
                                           8   compliance with those requirements.
                                           9            9.      In addition to the Employees, the Debtor regularly utilizes temporary
                                          10   staff members (the “Temporary Staff”) each of whom is hired through one or several
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                                          11   temporary employment agencies that has a contract with the Debtor, notably Roth
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                                          12   Staffing (“Roth”), CompHealth Medical Staffing (“CompHealth”) and AB Staffing
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                                          13   (“AB,” together with Roth and CompHealth, the “Agencies”). The number of
                                          14   Temporary Staff fluctuates based on the Debtor’s needs. Temporary Staff are not
                                          15   employees of the Debtor, and accordingly, are not eligible to participate in any
                                          16   employee benefits, health, or welfare plans. The Agencies pay the wages of the
                                          17   Temporary Staff and bill the Debtor on a weekly or monthly basis for the Temporary
                                          18   Staff (the “Agency Payment Obligations”). The Debtor estimates that it will pay
                                          19   Temporary Staff approximately $120,000 per month during this Case. As of the
                                          20   Petition Date, the Debtor estimates that approximately $120,000 of Agency Payment
                                          21   Obligations are outstanding. Payment of these Agency Payment Obligations is
                                          22   necessary to avoid harm to morale of the Temporary Staff and prevent any negative
                                          23   impact on Patient care. Accordingly, the Debtor requests authority to pay the Agency
                                          24   Payment Obligations, as part of its ordinary course of business, whether the amounts
                                          25   are for services that arose pre or post-petition. The Debtor does not believe that any
                                          26
                                               call basis. Unless otherwise required by applicable law, temporary Employees and per diem
                                          27   Employees are not eligible for benefits.
                                          28   5
                                                   See Cal. Health & Safety Code § 1276.4; Cal. Code Regs. tit. 22, § 70217.


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                                           1   payment to an individual member of the Temporary Staff exceeds the $15,150
                                           2   priority cap under § 507(a)(4).6
                                           3   C.      Prepetition Wages, Payroll and Associated Benefits
                                           4           10.     The Employees are paid wages and salaries (the “Wages”) bi-weekly, in
                                           5   arrears, either five or six days after the end of every 14-day pay period, through direct
                                           6   deposit or by check. The Debtor’s average bi-weekly gross payroll is approximately
                                           7   $2,100,000, which includes approximately $90,000 for executive payroll and
                                           8   $600,000 for withholding obligations (relating to various taxes, claims and other
                                           9   obligations).
                                          10           11.     The Debtor intends to file a First Day Motion with respect to paying the
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                                          11   compensation of any of its executives who qualify as “insiders” (as defined in section
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                                          12   101(31) of the Bankruptcy Code). As part of that motion, which will be supported
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                                          13   by a separate declaration, the Debtor will seek authority to pay these insider
                                          14   employees the unpaid wage or salary obligations postpetition in the ordinary course
                                          15   of business.
                                          16                   1. The Debtor’s Third-Party Payroll System
                                          17           12.     The Debtor pays Employees on the even weeks, on Fridays for the
                                          18   preceding 14-day pay period running from Monday to Sunday. The Debtor’s payroll
                                          19   is disbursed by Ceridian, a supplier of human resources and document services that
                                          20   provides the Debtor with payroll management and administration services. The
                                          21   Debtor normally funds its payroll to Ceridian on Wednesday prior to the pay date.
                                          22           13.     The date on which Employees were last paid was September 2, 2022 for
                                          23   the two-week period ending August 28, 2022.
                                          24           14.     Due to the imminent filing of this Case and the Debtor’s desire to ensure
                                          25   that Employees receive timely payment for Wages earned prepetition, the Debtor
                                          26   prefunded the Employees’ next routine payroll scheduled for September 16, 2022
                                          27
                                               6
                                                 The Debtor does not seek by this Motion to assume the contracts with the Agencies under which
                                          28   the Agency Payment Obligations arise.


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                                           1   (the “September 16th Payroll”)7 by payment to Ceridian on Thursday, September 8,
                                           2   2022. The September 16th Payroll is scheduled to be disbursed by Ceridian using
                                           3   the prefunded funds on September 16, 2022. The relief sought by this Motion seeks
                                           4   authority to make this scheduled payment without interruption.
                                           5           15.     As of the Petition Date, the Debtor will owe Ceridian approximately
                                           6   $5,000 with respect to its processing of payroll and related payroll administration
                                           7   matters (the “Administration Fees”). The Debtor requests authority to pay Ceridian
                                           8   the prepetition amount of $5,000 and to pay the postpetition Ceridian Administration
                                           9   Fees in the ordinary course of the Debtor’s business.
                                          10           16.     Accordingly, the Debtor seeks authority to pay any prepetition Wages
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                                          11   that may remain outstanding, with payments to each Employee not to exceed the
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                                          12   statutory limit for priority claims of $15,150, and to continue to pay Wages to
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                                          13   Employees incurred postpetition in the ordinary course of the Debtor’s business.
                                          14                   2. The Debtor’s Withholding Obligations
                                          15           17.     In the ordinary course of its business, the Debtor routinely withholds
                                          16   from the Wages certain amounts that the Debtor is required to transmit to the
                                          17   government and certain third parties for purposes such as Social Security and
                                          18   Medicare withholdings, federal and state or local income taxes, contributions to the
                                          19   Debtor’s benefit plans, savings and retirement plan contributions, garnishment, child
                                          20   support or other similar obligations pursuant to court order or law (collectively, the
                                          21   “Withholding Obligations”). The Debtor pre-funded approximately $600,000 for
                                          22   Withholding Obligations – including payments for tax obligations (the “Employer
                                          23   Tax Obligations”) such as FICA and Social Security – in connection with the
                                          24   payment of September 16th Payroll. Accordingly, the Debtor seeks authority to pay
                                          25   any prepetition Withholding Obligations that remain outstanding on account of
                                          26

                                          27
                                               7
                                                The September 16th Payroll covers Wages earned from August 29, 2022 through September 11,
                                          28   2022, which the Debtor confirms does not exceed $15,150 per Employee


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                                           1   prepetition Wages; and to continue to pay Withholding Obligations incurred
                                           2   postpetition in the ordinary course of the Debtor’s business.
                                           3   D.      Business Expense Reimbursements
                                           4           18.     The Debtor customarily reimburses Employees who incur business
                                           5   expenses in the ordinary course of performing their duties on behalf of the Debtor.
                                           6   Such expenses typically include, but are not limited to, business-related travel
                                           7   expenses (including mileage), business meals, relocation allowances, tuition
                                           8   reimbursement, and other items specified in the Borrego Health Employee Handbook
                                           9   (the “Reimbursement Obligations”). Expense reports detailing the Reimbursement
                                          10   Obligations are submitted for reimbursement by the Employees and generally must
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                                          11   be supported by copies of receipts.
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                                          12           19.     It is difficult for the Debtor to determine the exact amount of
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                                          13   Reimbursement Obligations that is due and owing for any particular time period since
                                          14   the expenses incurred by Employees on behalf of the Debtor throughout the year vary
                                          15   on a monthly basis and because there may be some delay between when an Employee
                                          16   incurs an expense and submits the corresponding expense report for processing.
                                          17   Based on historical experience, the Debtor anticipates that, as of the Petition Date,
                                          18   the Debtor owes an estimated $20,000 in Reimbursement Obligations. Accordingly,
                                          19   the Debtor seeks authority to pay prepetition Reimbursement Obligations to its
                                          20   Employees. The Debtor further seeks to continue to pay Reimbursement Obligations
                                          21   incurred postpetition in the ordinary course of the Debtor’s business.
                                          22   E.      Bonuses
                                          23           20.     Certain Employees are eligible to receive sign-on bonuses (the
                                          24   “Bonuses”). Sign-on bonuses are provided to candidates for employment in hard-to-
                                          25   fill or critical vacancies. Sign-on bonuses are provided for candidates as a recruiting
                                          26   incentive in accordance to, and consistent with, industry standards.
                                          27           21.     The Debtor is not, by this Motion, seeking permission to pay any
                                          28   Bonuses to continuing Employees but do seek the authority, in the Debtor’s

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                                           1   discretion, to pay the Employees on account of contractually agreed bonuses that
                                           2   accrued within the 180 days prior to the Petition Date when their services with the
                                           3   Debtor are terminated up to and in accordance with § 507(a)(4)’s limit for priority
                                           4   claims of $15,150, taking into account (and not exceeding) all payments made on
                                           5   account of each Employee’s priority prepetition Employee Obligations and Bonuses.
                                           6   F.      Paid Time Off
                                           7           22.     Both regular full-time and regular part-time Employees are eligible for
                                           8   Paid Time Off (“PTO”). Eligible Employees may begin to use any accrued PTO time
                                           9   after 90 days of employment. The Debtor pays all accrued but unused PTO when an
                                          10   Employee leaves the Debtor.
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                                          11           23.     Eligible Employees accrue PTO annually based on hours worked up to
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                                          12   forty (40) hours per week. The maximum number of PTO hours Employees can
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                                          13   accrue each year increases based on an Employee’s continuous length of service.
                                          14   When the maximum accrual cap for an Employee is reached, no further PTO will
                                          15   accrue until the Employee uses some of the accrued PTO. As of the Petition Date,
                                          16   the Debtor is carrying approximately $2,300,000 on its books for 94,000 hours of
                                          17   accrued and unused PTO.
                                          18           24.     The Debtor seeks authority to honor its existing PTO policies to the
                                          19   extent it would permit continuing Employees to use their prepetition accrued leave
                                          20   in the ordinary course of business, and going forward. The Debtor seeks the
                                          21   authority, in its discretion, to pay the Employees for unused PTO, as permitted per
                                          22   employment policy, that accrued within the 180 days prior to the Petition Date so
                                          23   long as the total of the payments already then made for other prepetition Employee
                                          24   Obligations and the PTO does not exceed the statutory limit for priority claims of
                                          25   $15,150.
                                          26   G.      Employee Benefits
                                          27           25.      The Debtor offers full-time Employees the opportunity to participate
                                          28   in a number of insurance and benefit programs, including, among other things,

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                                           1   medical, dental and vision plans, life insurance, short-term and long-term disability
                                           2   insurance, workers’ compensation, retirement plans and other insurance plans and
                                           3   benefits as described below (collectively, the “Employee Benefits”).
                                           4                     1. Medical, Vision and Dental Insurance
                                           5            26.      The Debtor offers all eligible Employees and their eligible dependents
                                           6   (collectively, the “Dependents”) medical, dental and vision insurance, which are
                                           7   primarily self-insured by the Debtor with the exceptions set forth below.
                                           8            27.      For medical, the Debtor offers eligible Employees a self-insured
                                           9   preferred provider organization plan (the “Self-Insured Medical Plan”). Meritain
                                          10   Health is the third-party administrator for all medical and prescription drug claims
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                                          11   against the Self-Insured Medical Plan.
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                                          12            28.      Depending on whether and how many Dependents are covered, the
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                                          13   Debtor’s and Employees’ respective monthly costs for the Self-Insured Medical Plan
                                          14   fall within the following ranges:
                                          15              Plan                            Monthly       Employer Monthly           Employee
                                          16                                              Cost                         Cost
                                          17              Self-Insured Medical Plan $550,000 - $3,400,000 $50,000 - $60,000
                                          18
                                                        29.      The Self-Insured Medical Plan is on a self-bill model, whereby the
                                          19
                                               Debtor pays to Meritain Health: (i) monthly administration fees based on the number
                                          20
                                               of insured Employees in the prior month and (ii) actual medical claims. As of the
                                          21
                                               Petition Date, the Debtor believes it does not owe any prepetition administration fees
                                          22
                                               to Meritain Health. As of the Petition Date, the Debtor owed approximately $1.3
                                          23
                                               million 8 to Meritain Health on account of accrued and unpaid prepetition claims
                                          24
                                               against the Self-Insured Medical Plan.
                                          25
                                                        30.      For dental, the Debtor offers two MetLife plans (together, the “Dental
                                          26
                                               Plans”). The Debtor bears between approximately 75% and 80% of the costs of the
                                          27

                                          28   8
                                                   This amount does not include estimated incurred but not reported claims.


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                                           1   Dental Plans. Depending on the Employees’ Dependent status, the Debtor’s and
                                           2   Employees’ respective monthly costs for the Dental Plans fall within the following
                                           3   ranges:
                                           4             Plan                          Monthly      Employer Monthly        Employee
                                           5                                           Cost                     Cost
                                           6             MetLife DHMO                  $6,000 - $10,000         $2,000 - $5,000
                                           7             MetLife PPO                   $35,000 - $55,000        $10,000 - $15,000
                                           8
                                                       31.      As of the Petition Date, the Debtor does not owe any amount to MetLife
                                           9
                                               on account of accrued and unpaid prepetition claims against the Dental Plans. Also,
                                          10
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                                               as of the Petition Date, the Debtor believes it does not owe any prepetition
                                          11
                                               administration fees to MetLife.
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                                                       32.      For vision, the Debtor offers one MetLife plan (the “Vision Plan,” and
                                          13
                                               together with the Medical Plans and the Dental Plans, the “Health Plans”). The
                                          14
                                               Debtor pays up to 80% of the costs of the Vision Plan. Depending on the Employees’
                                          15
                                               Dependent status, the Debtor’s and Employees’ respective monthly costs for the
                                          16
                                               Vision Plan falls within the following ranges:
                                          17
                                                         Plan                          Monthly      Employer Monthly        Employee
                                          18
                                                                                       Cost                    Cost
                                          19
                                                         MetLife Vision                $4,000 - $5,000         $800 - $1,000
                                          20

                                          21           33.      As of the Petition Date, the Debtor does not owe any amount to MetLife

                                          22   on account of accrued and unpaid prepetition claims against the Vision Plan. Also,

                                          23   as of the Petition Date, the Debtor believes it does not owe any prepetition

                                          24   administration fees to MetLife.

                                          25           34.      The Debtor believes that it is current on the administration fees and

                                          26   premiums related to the Health Plans. To the extent it is not, however, the Debtor

                                          27   seeks authority to pay its portion of any premiums or administration fees for the

                                          28   Health Plans that accrued and remain unpaid as of the Petition Date as and when they


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                                           1   come due. The Debtor also seeks authority to continue to pay, in its discretion and
                                           2   in the ordinary course of its business, the administration fees, premiums for and
                                           3   claims under the Health Plans incurred postpetition.
                                           4         35. For similar reasons, the Debtor seeks to continue to perform any

                                           5   obligations under § 4980B of the Internal Revenue Code to administer Continuation

                                           6   Health Coverage (“COBRA”) (see 26 U.S.C. § 4980B) in respect to former

                                           7   employees. The Debtor believes that any prepetition costs related to COBRA

                                           8   coverage benefits are de minimis, but nonetheless, to maintain Employee morale and

                                           9   ensure the orderly administration of the estate, the Debtor requests authority to pay

                                          10   in its discretion any such prepetition costs.
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                                          11                   2. Employee Life, Disability, Workers’ Compensation and
                                                                  Unemployment
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                                          12
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                                                       36.     The Debtor offers eligible Employees premium-based group life
                                          13
                                               insurance and supplemental life insurance (collectively, “Life Insurance”) and
                                          14
                                               accidental death and dismemberment insurance (“AD&D”) through MetLife. The
                                          15
                                               Debtor provides Employees Life Insurance coverage in the amount of $50,0009 with
                                          16
                                               premiums and other related charges paid 100% by the Debtor and total approximately
                                          17
                                               $12,000 monthly on account of approximately 623 Employees. The Debtor provides
                                          18
                                               Employees AD&D coverage in the amount of $50,00010 with premiums and other
                                          19
                                          20
                                               related charges paid 100% by the Debtor and total approximately $2,000 monthly on

                                          21
                                               account of approximately 623 Employees.

                                          22

                                          23

                                          24

                                          25

                                          26   9
                                                Employees may elect to upgrade coverage to 5x annual salary up to $500,000 and pay the
                                               additional amount themselves.
                                          27
                                               10
                                                 Employees may elect to upgrade coverage to 5x annual salary up to $500,000 and pay the
                                          28   additional amount themselves.


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                                           1           37.     The Debtor also offers eligible Employees premium-based short term
                                           2   (“ST”) through Colonial.11 The Debtor pays 100% of premiums and other related
                                           3   charges for ST, totaling approximately $8,000 monthly, on account of 53 Employees.
                                           4           38.     The Debtor also provides workers’ compensation insurance through
                                           5   BETA Healthcare (the “Workers’ Compensation Insurance”). The amount of the
                                           6   annual premium is approximately $1,179,361 which is paid monthly in the amount
                                           7   of $98,280.
                                           8           39.     The Debtor also provides self-insured unemployment claim insurance
                                           9   (the “Unemployment Insurance Plan”) for Employees. The Debtor’s quarterly costs
                                          10   under the Unemployment Insurance Plan averages between $130,000 and $330,000.
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                                          11   501(c) Agencies Trust is the third-party administrator for all unemployment claims
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                                          12   against the Unemployment Insurance Plan.
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                                          13           40.     The Unemployment Insurance Plan is on a self-bill model, whereby the
                                          14   Debtor pays to 501(c) Agencies Trust: (i) monthly administration fees based on the
                                          15   number of insured Employees in the prior month and (ii) actual unemployment
                                          16   claims. As of the Petition Date, the Debtor believes it does not owe 501(c) Agencies
                                          17   Trust for any prepetition administration fees or any outstanding unemployment
                                          18   claims.
                                          19           41.     In addition, as of the Petition Date, the Debtor owes approximately
                                          20   $4,000 to Aetna Resources for Living under an employee assistance program.
                                          21           42.     The Debtor believes that it is current on all the above-mentioned
                                          22   insurance policies and claims obligations. To the extent it is not, however, the Debtor
                                          23   seeks authority, in its discretion, to pay any accrued and unpaid prepetition premiums
                                          24   and related charges and to continue the above benefits postpetition and to deliver the
                                          25   Employees’ portion of any accrued and unpaid prepetition premiums to the
                                          26
                                               11
                                          27     Eligible employees have the option to separately purchase Voluntary Accident Insurance,
                                               Voluntary Critical Illness Insurance, Group Hospital Indemnity Insurance and additional Voluntary
                                          28   Disability all through Colonial.


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                                           1   corresponding administrators in connection with the payment of the Wages and
                                           2   Withholding Obligations.12
                                           3                   3. Retirement Plans
                                           4           43.     The Debtor also offers eligible Employees the opportunity to participate
                                           5   in a defined 401(k) contribution plan through Principal (as recordkeeper) that allows
                                           6   for voluntary employee pre-tax deferrals (the “401(k) Plan”).                      Employees
                                           7   participating in this program may contribute up to the federal statutory cap per year,
                                           8   and the Debtor deducts the employee pre-tax deferrals from Employee paychecks for
                                           9   each pay-cycle. Failure to timely forward the Employees’ 401(k) Plan deductions
                                          10   may be a violation of the Employee Retirement Income Security Act of 1974, as
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                                          11   amended (“ERISA”), resulting in potential liability for the Debtor’s officers.
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                                          12   Maintaining the 401(k) Plan as a part of the Employee Benefit Programs is critical to
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                                          13   maintaining employee morale.
                                          14           44.     The Debtor seeks authority to transfer Employee contributions in
                                          15   connection with the payment of Wages and withholding obligations described above.
                                          16   Administration fees for the 401(k) Plan are paid by Employee participants. The
                                          17   Debtor does not believe any 401(k) Plan payments will cause the total payments
                                          18   made for prepetition Employee obligations to exceed the statutory limit for priority
                                          19   claims of $15,150; however, if that is not the case, the Debtor believes that standard
                                          20   administration costs related to these retirement benefits are de minimis, and the
                                          21   Debtor requests authority to pay in its discretion any such prepetition costs to
                                          22   maintain employee morale and ensure the orderly administration of the estate.
                                          23

                                          24

                                          25
                                               12
                                                 By separate and contemporaneous motion, the Debtor is requesting authority to maintain its
                                          26
                                               insurance program (including workers’ compensation policies) and pay insurance premiums,
                                          27   deductibles and administration fees in the ordinary course of business (including any amounts
                                               accrued and unpaid as of the Petition Date). For the avoidance of doubt, to the extent these two
                                          28   Motions overlap, the Debtor seeks authority to pay any obligation only once.


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                                           1                   4. Miscellaneous Employee Benefit Plans
                                           2           45.     Employees have the option to join the AirMedCare (Air Ambulance
                                           3   Benefit) Network via $50 payroll-deducted annual membership fee.13 All of these
                                           4   programs are 100% funded by the Employees and are paid for through payroll
                                           5   deductions. The Debtor requests authority to continue to honor these programs, in
                                           6   its discretion, and to continue distributing to third-parties the payments for these
                                           7   programs in connection with the payment of Wages and Withholding Obligations as
                                           8   described above, including the distributions of payments that are for prepetition
                                           9   amounts due.
                                          10                                                  IV.
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                                          11                                        LEGAL SUPPORT
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                                          12           Sections 105(a) and 363(b)(1) and (c)(1) and the “necessity of payment”
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                                          13   doctrine provide statutory support for the requested relief. Specifically, § 363(b)(1)
                                          14   of the Bankruptcy Code authorizes a debtor in possession to use property of the estate
                                          15   other than in the ordinary course of business after notice and a hearing; and §
                                          16   363(c)(1) of the Bankruptcy Code authorizes a debtor in possession to enter into
                                          17   transactions in the ordinary course of business without notice and a hearing.
                                          18           Moreover, the Employee Obligations and Agency Payment Obligations that
                                          19   the Debtor requests authority to pay and/or honor are entitled to priority in payment
                                          20   under §§ 507(a)(4), (5) and (8)(D). If the aggregate prepetition Wages, Employee
                                          21   Benefits, Agency Payment Obligations and PTO that accrued within the 180 days
                                          22   prior to the Petition Date exceed the sum of $15,150 allowable as a priority claim
                                          23   under §§ 507(a)(4) and (5) for any individual Employee or Temporary Staff member,
                                          24   the Debtor is not requesting, by this Motion, authority to pay any such excess
                                          25   amounts. Thus, the Debtor requests authority to pay or honor any outstanding Wages,
                                          26   Agency Payment Obligations, Employee Benefits and PTO in the ordinary course of
                                          27
                                               13
                                                  This is a network of affiliated helicopter and airplane air ambulances for medical treatment and
                                          28   transport needs.


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                                           1   business but only up to the $15,150 priority cap for each Employee or Temporary
                                           2   Staff member.
                                           3   A.    This Court Has Authority Pursuant to §§ 105(a)
                                                     and 363(b)(1) and (c)(1) to Grant the Relief Requested
                                           4
                                                       Pursuant to § 105(a), “the court may issue any order, process, or judgment that
                                           5
                                               is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §
                                           6
                                               105(a). Essentially, § 105(a) provides a statutory counterpart to the bankruptcy
                                           7
                                               court’s otherwise inherent and discretionary equitable powers. See In re Sasson, 424
                                           8
                                               F.3d 864, 874 (9th Cir. 2005); In re Halvorson, 581 B.R. 610, 636 n.91 (Bankr. C.D.
                                           9
                                               Cal. 2018).
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                                                       Utilizing § 105(a), bankruptcy judges in this district have recognized the
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                                          11
                                               existence of:
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                                                               some case law and some authority in the court’s rules in Rule
                                          13
                                                               2081-1(a)(6), which allows immediate payment of claims, often
                                          14                   on first day motions, based on the recognition of the critical need
                                                               to pay prepetition wage and commission claims to employees
                                          15
                                                               and specified independent contractors so that they continue to
                                          16                   work for the debtor and render services to the debtor to help it
                                                               continue operations as a going concern and to reorganize in a
                                          17
                                                               Chapter 11 bankruptcy case.
                                          18
                                               In re EcoSmart, Inc., Case No. 15-27139 (RK), 2015 WL 9274245, at *4 (Bankr.
                                          19
                                               C.D. Cal. Dec. 18, 2015) (citing 2 March, Ahart and Shapiro, California Practice
                                          20
                                               Guide: Bankruptcy, ¶ 11:386, at 11–45 (2014) (“Most courts allow payment of
                                          21
                                               prepetition employee wages up to the priority amount under the ‘necessity of
                                          22
                                               payment’ doctrine, which permits immediate payment of creditors who will not
                                          23
                                               supply services or material essential to the conduct of the business until their
                                          24
                                               prereorganization claims are paid.”) (emphasis in original)).
                                          25
                                                       Bankruptcy judges routinely grant motions to pay prepetition wages that are
                                          26
                                               entitled to priority. See, e.g., In re Sotera Wireless, Inc., Case No. 16-05968-LT11
                                          27
                                               (Bankr. S.D. Cal. Oct. 25, 2016); In re Verity Health System of California, Inc., Case
                                          28


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                                           1   No. 18-20151-ER, Docket No. 612 (Bankr. C.D. Cal. Oct. 22, 2018); In re Gardens
                                           2   Reg’l Hosp. & Med. Ctr., Inc., Case No. 16-17463-ER, Docket No. 68 (Bankr. C.D.
                                           3   Cal. June 10, 2016); In re Gordian Med., Inc., Case No. 12-12399-MW, Docket No.
                                           4   57 (Bankr. C.D. Cal. March 5, 2012); In re Victor Valley Cmty. Hosp., Case No. 10-
                                           5   39537-CB, Docket No. 30 (Bankr. C.D. Cal. Sep. 17, 2010). Courts either rely on
                                           6   the doctrine of necessity or § 507(a)(4) to allow for the payment of prepetition
                                           7   employee wage claims up to the priority cap set forth in § 507(a)(4). EcoSmart, 2015
                                           8   WL 9274245, at *9. Thus, as long as the Debtor “demonstrate[s] . . . the priority
                                           9   status of wage, salary and commission claims of its employees and independent
                                          10   contractors under 11 U.S.C. § 507(a)(4)(A) and (B),” such demonstration will
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                                          11   “warrant immediate payment in advance of general distribution on prepetition
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                                          12   claims.” Id. That is the extent of the relief the Debtor is requesting in this Motion.
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                                          13           The Debtor is mindful that in In re B&W Enters., 713 F.2d 534 (9th Cir. 1983),
                                          14   the Ninth Circuit refused to extend the “necessity of payment” doctrine beyond the
                                          15   railroad reorganization case where the debtor made unauthorized postpetition
                                          16   payments to trade suppliers on prepetition debts. In B&W, after conversion to chapter
                                          17   7, the trustee sought to recover the payments under § 549. That case is factually
                                          18   distinguishable from the instant one in that B&W (a) involved ordinary trade
                                          19   suppliers for which the claims were not entitled to priority and (b) did not seek prior
                                          20   court approval for the payments. Moreover, the U.S. Supreme Court, in Czyzewski
                                          21   v. Jevic Holding Corp., has recognized that courts “approve[] interim distributions
                                          22   that violate ordinary priority rules,” generally when there are “significant Code-
                                          23   related objectives that the priority-violating distributions serve,” including “payment
                                          24   of employees’ prepetition wages.” 137 S.Ct. 973, 985 (2017).
                                          25           For a number of reasons, the Bankruptcy Code affords special treatment to
                                          26   certain prepetition claims of employees. Compared to a typical claim in bankruptcy,
                                          27   wages represent a large part of an employee’s wealth. In addition, unlike an ordinary
                                          28


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                                           1   trade creditor, the typical employee does not have other sources of income and thus
                                           2   cannot diversify the risk of the employer’s default.
                                           3           Any outstanding prepetition Wages as well as the prepetition Agency Payment
                                           4   Obligations cannot be paid without the approval of this Court. The failure of the
                                           5   Debtor to pay outstanding Wages or Agency Payment Obligations timely in the
                                           6   ordinary course of its business would adversely impact Employee and Temporary
                                           7   Staff morale that, in all likelihood, would lead to undesirable employee attrition and
                                           8   other serious and irreparable disruptions of the Debtor’s operations as well as
                                           9   possible harm to the Patients. Any significant number of Employee and Temporary
                                          10   Staff member departures or deterioration in morale, especially at this sensitive time,
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                                          11   will substantially and adversely impact the Debtor’s ability to operate the medical
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                                          12   clinics and result in immediate and irreparable harm to the Debtor’s estate.
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                                          13           The Debtor submits that the amounts to be paid pursuant to this Motion are
                                          14   comparatively small in light of the importance and necessity of preserving the
                                          15   Employees’ and Temporary Staff’s services and morale and the difficulties and losses
                                          16   the Debtor will suffer if Employee or Temporary Staff morale is low or if they leave
                                          17   in significant numbers. The Debtor further submits that there is ample justification
                                          18   for its belief that even the slightest delay in providing this relief to its Employees or
                                          19   Temporary Staff will hamper operations and damage the Debtor’s estate. As a
                                          20   consequence, the Debtor is anxious to reassure its Employees and Temporary Staff.
                                          21           Many Employees and Temporary Staff live from paycheck to paycheck and
                                          22   rely exclusively on receiving their full compensation or reimbursement of their
                                          23   expenses in order to continue to pay their daily living expenses. Employees and
                                          24   Temporary Staff may be exposed to significant financial and healthcare related
                                          25   problems if the Debtor is not permitted to pay and/or honor the Wages, Agency
                                          26   Payment Obligations, PTO policy and Employee Benefits, and the expenses
                                          27   associated therewith in the ordinary course of the Debtor’s business. It is critical,
                                          28   therefore, that the Debtor be permitted to pay any outstanding, non-discretionary

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                                           1   prepetition Wages and Agency Payment Obligations that would otherwise constitute
                                           2   priority claims against the Debtor’s estate, to honor its prepetition PTO policy
                                           3   regarding the use of accrued PTO and the payment for it upon termination, and to
                                           4   continue to fund its Employee Benefits.
                                           5           Additionally, the Withholding Obligations do not constitute property of the
                                           6   Debtor’s estate. They principally represent Employee earnings that governments (in
                                           7   the case of taxes), Employees (in the case of voluntary Withholding Obligations) and
                                           8   judicial authorities (in the case of involuntary Withholding Obligations), have
                                           9   designated for deduction from Employee paychecks. The failure to transfer these
                                          10   withheld funds could result in hardship to certain Employees and liability for the
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                                          11   Debtor and its officer. The Debtor expects that if these Withholding Obligations are
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                                          12   not paid, the Debtor may also receive inquiries from garnishers regarding the
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                                          13   Debtor’s failure to submit, among other things, child support and alimony payments,
                                          14   which are not the Debtor’s property but, rather, have been withheld from Employee
                                          15   paychecks.
                                          16   B.      Outstanding Prepetition Wages, Agency Payment Obligations and
                                                       Prepetition Employee Benefits Are Priority Claims Under Bankruptcy
                                          17           Code §§ 507(a)(4) and (5)
                                          18           Pursuant to § 507(a)(4)(A), claims of Employees and Temporary Staff of the
                                          19   Debtor for “wages, salaries, or commissions, including vacation, severance, and sick
                                          20   leave pay” earned within 180 days before the Petition Date are afforded priority
                                          21   unsecured status to the extent of $15,150 per Employee or Temporary Staff member.
                                          22   Similarly, § 507(a)(5) provides that Employees’ claims for contributions to certain
                                          23   employee benefit plans are also afforded priority unsecured status to the extent of
                                          24   $15,150 per Employee covered by such plan, less any amount paid pursuant to §
                                          25   507(a)(4). The Debtor believes that any outstanding Wages, Agency Payment
                                          26   Obligations, PTO policy and Employee Benefits relating to the 180-day period prior
                                          27   to the Petition Date constitute priority claims under §§ 507(a)(4) and (5). As priority
                                          28   claims, they should be paid in full before any general unsecured obligations of the

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                                           1   Debtor may be satisfied. Accordingly, the relief requested may affect only the timing
                                           2   of the payment of these priority obligations and will not prejudice the rights of
                                           3   general unsecured creditors or other parties in interest.
                                           4            With respect to any outstanding prepetition Wages, Agency Payment
                                           5   Obligations, PTO policy and Employee Benefits, no Employees or Temporary Staff
                                           6   will be paid on account of claims above the $15,150 amount stated in §§ 507(a)(4)
                                           7   and (5) of the Bankruptcy Code.
                                           8   C.    Maintaining the Employee Benefits Is Within the Debtor’s Business
                                                     Judgment
                                           9
                                                        The Debtor’s relationships with the Employees, including the terms and
                                          10
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                                               conditions of their employment, are matters subject to the Debtor’s business
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                                          11
                                               judgment and may be managed by the Debtor in the “ordinary course of business.”
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                                               See In re All Seasons Indus., 121 B.R. 822, 825-26 (Bankr. N.D. Ind. 1990); In re
                                          13
                                               Pac. Forest Indus., Inc., 95 B.R. 740, 743 (Bank. C.D. Cal. 1989) (“Employees do
                                          14
                                               not need court permissions to be paid and are usually paid as a part of the ongoing
                                          15
                                               operation of the business.”). This doctrine also applies to accrued employee benefits
                                          16
                                               such as paid time off and leave policies. See In re Canton Castings, Inc., 103 B.R.
                                          17
                                               874, 876 (Bankr. N.D. Ohio 1989). The maintenance of the Debtor’s benefit
                                          18
                                               programs is an important part of the Debtor’s relationships with its employees that is
                                          19
                                               within the Debtor’s business judgment.
                                          20
                                                        Finally, the Withholding Obligations represent funds that the Debtor is not
                                          21
                                               entitled to hold for any protracted period, since the Debtor effectively holds these
                                          22
                                               amounts in trust and the Employees themselves hold a direct claim against such
                                          23
                                               funds.
                                          24   D.       Honoring of Checks and Transfers Related to Employee Obligations and
                                          25
                                                        Agency Payment Obligations and Maintenance of Payroll Accounts

                                          26            The Debtor further requests that City National Bank be authorized and directed
                                          27   to receive, process, honor and pay all checks presented for payment and to honor all
                                          28   transfer requests made by the Debtor related to Employee Obligations and Agency

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                                           1   Payment Obligations, whether such checks were presented or funds transfer requests
                                           2   were submitted prior to or after the Petition Date (including checks that have been
                                           3   presented and dishonored), to the extent that the relevant accounts contain sufficient
                                           4   funds. The Debtor will identify to the banks the checks that are to be honored
                                           5   pursuant to an order approving this Motion. Accordingly, checks other than those
                                           6   for Employee Obligations and Agency Payment Obligations should not be honored
                                           7   inadvertently. Moreover, the Debtor expects to have sufficient funds to pay all
                                           8   Employee Obligations and Agency Payment Obligations, to the extent described
                                           9   herein, on an ongoing basis and in the ordinary course of business.
                                          10                                                V.
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                                          11                                        CONCLUSION
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                                          12           WHEREFORE, for all the foregoing reasons and such additional reasons as
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                                          13   may be advanced at or prior to the hearing on this Motion, the Debtor respectfully
                                          14   requests that this Court enter the Proposed Order: (i) authorizing the Debtor, in its
                                          15   discretion, to pay prepetition Employee Obligations, with payments to each
                                          16   Employee not to exceed the statutory limit for priority claims of $15,150; (ii)
                                          17   authorizing, but not directing, the Debtor, in its discretion, to pay its Temporary Staff
                                          18   for work performed prepetition via payment of Agency Payment Obligations, with
                                          19   payments to each Temporary Staff member not to exceed the statutory limit for
                                          20   priority claims of $15,150; (iii) authorizing and directing the applicable bank to pay
                                          21   all checks and electronic payment requests made by the Debtor relating to the
                                          22   foregoing; and (iv) granting such other and further relief as is just and proper under
                                          23   the circumstances.
                                          24

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                                           1                                                  DENTONS US LLP
                                                Dated: September 12, 2022
                                                                                              SAMUEL R. MAIZEL
                                           2                                                  TANIA M. MOYRON
                                           3

                                           4                                                  By    /s/Tania M. Moyron
                                                                                                       Tania M. Moyron
                                           5
                                                                                              Proposed Attorneys for the Chapter 11
                                           6                                                  Debtor and Debtor In Possession
                                           7

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                                      Exhibit “A”
                                (Proposed Order)
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                                                                                                        Exhibit A


CSD 1008 [08/21/00]
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Proposed Attorneys for the Chapter 11 Debtor and Debtor in Possession

             UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
  325 West F Street, San Diego, California 92101-6991

In Re                                                                        BANKRUPTCY NO.22-02384-11
BORREGO COMMUNITY HEALTH FOUNDATION                                          Date of Hearing: TBD
                                                                             Time of Hearing: TBD
                                                                             Name of Judge: Honorable Laura S. Taylor
                                                Debtor.

                                                  ORDER ON

        EMERGENCY FIRST DAY MOTION FOR ENTRY OF ORDER: (I) AUTHORIZING THE
      DEBTOR TO (A) PAY PREPETITION EMPLOYEE WAGES AND SALARIES, AND (B) PAY
       AND HONOR EMPLOYEE BENEFITS AND OTHER WORKFORCE OBLIGATIONS; (II)
     AUTHORIZING THE DEBTOR TO PAY PREPETITION AGENCY PAYMENT OBLIGATIONS;
     AND (III) AUTHORIZING AND DIRECTING THE APPLICABLE BANK TO PAY ALL CHECKS
      AND ELECTRONIC PAYMENT REQUESTS MADE BY THE DEBTOR RELATING TO THE
                                      FOREGOING
    The court orders as set forth on the continuation pages attached and numbered 2 through 3 with
   exhibits, if any, for a total of pages_____. Motion/Application Docket Entry No. _____.



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    DATED:
                                                             Judge, United States Bankruptcy Court

    CSD 1001A




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                                                                                            Exhibit A


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    ORDER GRANTING DEBTOR’S EMERGENCY FIRST DAY MOTION FOR ENTRY OF
    ORDER: (I) AUTHORIZING THE DEBTOR TO (A) PAY PREPETITION EMPLOYEE WAGES
    AND SALARIES, AND (B) PAY AND HONOR EMPLOYEE BENEFITS AND OTHER
    WORKFORCE OBLIGATIONS; (II) AUTHORIZING THE DEBTOR TO PAY PREPETITION
    AGENCY PAYMENT OBLIGATIONS; AND (III) AUTHORIZING AND DIRECTING THE
    APPLICABLE BANK TO PAY ALL CHECKS AND ELECTRONIC PAYMENT REQUESTS
    MADE BY THE DEBTOR RELATING TO THE FOREGOING
    DEBTOR: BORREGO COMMUNITY HEALTH FOUNDATION                          CASE NO: 22-02384


Having considered the Emergency Motion,1 the accompanying Memorandum of Points and
Authorities in support of the Emergency Motion, and the Declaration of Isaac Lee in support of
the Emergency Motion, the arguments of counsel at the hearing, and good cause appearing
therefore,
1.       The Emergency Motion is granted subject to the terms of this Order.

2.       The Debtor is authorized, in its sole discretion, to do the following:

      a) To honor and pay any Employee Obligations for Employees of the Debtor that are
         outstanding as of the Petition Date, including Wages, Withholding Obligations,
         Reimbursement Obligations, Bonuses, and PTO, provided, however, that no payment to
         any individual Employee of prepetition Employee Obligations shall exceed, in the
         aggregate for that individual Employee, the $15,150 statutory cap provided for under §
         507(a)(4) of the Bankruptcy Code (the “Statutory Cap”) unless otherwise required by
         applicable law or ordered by this Court;
      b) To pay any Administration Fees owed to Ceridian that are outstanding as of the Petition
         Date;
      c) To pay any Agency Payment Obligations that are outstanding as of the Petition Date,
         provided, however, that no payment for any individual Temporary Staff member’s
         prepetition services shall exceed the $15,150 Statutory Cap unless otherwise required by
         applicable law or ordered by this Court;
      d) To pay postpetition (when payable) any amounts that accrued prepetition for Continuation
         Health Coverage (“COBRA”), and to continue to perform any obligations related thereto in
         the ordinary course of business;
      e) To pay its portion of any premiums, claims or administration fees for the Health Plans that
         accrued and remain unpaid as of the Petition Date and to continue to pay, in its discretion
         and in the ordinary course of its business, the administration fees, premiums for and claims
         under the Health Plans incurred postpetition;
      f) To pay any accrued and unpaid prepetition premiums and related charges to maintain
         Employee Life Insurance, AD&D, ST, Workers’ Compensation Insurance, Unemployment
         Insurance Plan, employee assistance program postpetition and to deliver the Employees’
         portion of any accrued and unpaid prepetition premiums to the corresponding
         administrators in connection with the payment of the Wages and Withholding Obligations;



1
  Defined terms in this Order shall have the same meaning as in the Emergency Motion unless
otherwise defined herein.


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                                                                                           Exhibit A




CSD 1001A [07/01/18] (Page 3)


    g) To continue to honor, in its discretion and in the ordinary course of its business,
        miscellaneous employee retirement and benefit programs that are Employee-funded (e.g.,
        401(k) Plan, AirMedCare), and to distribute to third-parties the payments for these
        programs in connection with the payment of Wages and Withholding Obligations; and
    h) To continue to pay and honor, in its discretion and in the ordinary course of its business,
        all Employee-related expenses and obligations that accrue postpetition in the ordinary
        course of the Debtor’s business.
    3. City National Bank shall honor and pay all checks and electronic payment requests made
        by the Debtor relating to the foregoing obligations.
    4. Notwithstanding the relief granted in this Order and any actions taken pursuant to such
        relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any
        claim against the Debtor; (b) a waiver of the Debtor’s right to dispute any claim on any
        grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission
        that any particular claim is of a type specified or defined in this Order, or the Emergency
        Motion; (e) a request or authorization to assume any agreement, contract, or lease
        pursuant to § 365; (f) a waiver or limitation of the Debtor’s rights under the Bankruptcy
        Code or any other applicable law; or (g) a concession by the Debtor that any liens
        (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are
        valid, and the Debtor expressly reserves its rights to contest the extent, validity, or
        perfection or seek avoidance of any or all such liens.
    5. Nothing in this Order or any action taken by the Debtor in furtherance of the
        implementation hereof shall be deemed to constitute an assumption or rejection of any
        executory contract or unexpired lease pursuant to § 365, and all of the Debtor’s rights with
        respect to such matters are expressly reserved.
    6. Notwithstanding the relief granted herein and any actions taken hereunder, nothing
        contained herein shall (a) create, nor is it intended to create, any rights in favor of, or
        enhance the status of any claim held by, any person or entity, or (b) be deemed to convert
        the priority of any claim from a prepetition claim into an administrative expense claim.
    7. The requirements of Bankruptcy Rule 6003(b) are satisfied because the relief requested
        in the Emergency Motion is necessary to avoid immediate and irreparable harm to the
        Debtor.
    8. Notice of the Emergency Motion as provided therein shall be deemed good and sufficient
        notice, and the requirements of Bankruptcy Rules 2002 and 6004(a) and LBR 9013-9(d)
        and Appendix D1(2) are waived and/or satisfied by such notice.
    9. The Debtor is authorized to take all actions necessary to effectuate the relief granted in
        this Order in accordance with the Emergency Motion.
    10. This Court retains exclusive jurisdiction with respect to all matters arising from or related
        to the implementation, interpretation, and enforcement of this Order.
                                                ###




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